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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES INC.                     §
SECURITIES LITIGATION                           §       Master File No. 1:21-cv-00751-DAE
                                                §
                                                §                CLASS ACTION
This Document Relates to:                       §
                                                §
              ALL ACTIONS                       §
                                                §

      UNOPPOSED MOTION TO RESET DISCOVERY STATUS CONFERENCE


       Defendants Cassava Sciences, Inc. and Eric J. Schoen (the “Cassava Defendants”)

respectfully submit this Unopposed Motion to Reset the discovery status conference currently

scheduled for March 18, 2025.

       1.     On February 19, 2025, the Court set a discovery status conference for March

              18, 2025, at 2:30 p.m.

       2.     Counsel for the Cassava Defendants has a preexisting scheduling conflict on

              March 18, 2025.

       3.     Counsel for the Cassava Defendants conferred with counsel for Plaintiffs and

              counsel for Remi Barbier and Lindsay Burns, who do not oppose resetting the

              discovery status conference to March 28, 2025, at 1:30 p.m.

       4.     On February 27, 2025, Counsel for the Cassava Defendants confirmed with Court

              staff that this new date and time is available on the Court’s calendar.

       For these reasons, the Cassava Defendants respectfully request that the discovery status

conference currently scheduled for March 18, 2025, be reset to 1:30 p.m. on March 28, 2025.




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Dated: February 27, 2025           Respectfully submitted,

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                                   Eric J. Schoen




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                               CERTIFICATE OF SERVICE

The undersigned certifies that on February 27, 2025, a true and correct copy of the foregoing was

served upon each attorney of record.


                                                    /s/ Gregg Costa
                                                    Gregg Costa




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